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                      October 11, 2024



  VIA - ECF

  Hon. Rukhsanah L. Singh, U.S. Magistrate Judge
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street
  Trenton, NJ 08608

            Re:       Johnson & Johnson Talcum Power Products, Marketing, Sales Practices and
                      Products liability Litigation
                      Case No.: 3:16-md-02738-MAS-RLS

  Dear Judge Singh:

  Pursuant to the Court’s Letter Order of October 4, 2024, counsel for Johnson & Johnson and
  counsel for Andy Birchfield and Beasley Allen provide this update regarding the status of In re
  Red River Talc, LLC, case number 24-90505, now pending before the Hon. C. Lopez, U.S.
  Bankruptcy Court, Southern District of Texas, Houston Division (“Bankruptcy Court”). As the
  Court is aware, notwithstanding the Bankruptcy Court’s acknowledgment that the administrative
  stay it entered could not bind this Court, the parties had agreed out of comity and respect that it
  would apply during its short tenure to all related matters, including the pending motion for the
  disqualification of Andy Birchfield and Beasley Allen and motion to remove Beasley Allen from
  the Plaintiffs’ Steering Committee. By way of update, yesterday the Bankruptcy Court denied
  the motion to transfer advanced by several parties, and reiterated that its administrative stay will
  expire by its own terms at midnight tonight, October 11, 2024.

  Based on expiration of the stay, Johnson & Johnson believes the disqualification motion and
  removal motion may and should now proceed—the latter on the briefing schedule currently in
  place, which sets it for November 4, 2024. This is because, as a matter of law, the automatic stay
  (and any subsequent extension of that stay) does not enjoin the two pending motions, as their
  resolution does not adversely impact the debtor’s estate. Notwithstanding the November 4 setting
  for the motion to remove, Beasley Allen requests – and Johnson & Johnson does not oppose – an
  extension of its deadline to respond from October 21 to October 25, 2024, with a corresponding
  extension of Johnson & Johnson’s reply deadline from October 28 to November 1, 2024.

  We will continue to update the Court if further developments impact the Court’s consideration of
  Johnson & Johnson’s pending motion.
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  Honorable Rukhsanah L. Singh                   -2-                          October 11, 2024



  Thank you for your continued consideration of this matter.

                                               Respectfully submitted,


                                               Susan M. Sharko

                                               Stephen D. Brody
                                               O’Melveny & Myers LLP


  SMS

  All counsel via ECF

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